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                      Exhibit
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                                                                                McDonald Hopkins LLC
                                                                                600 Superior Avenue, East
                                                                                Suite 2100
                                                                                Cleveland, OH 44114

                                                                                P 1.216.348.5400
                                                                                F 1.216.348.5474


Direct Dial: 216.348.5730
E-mail: mcavanagh@mcdonaldhopkins.com



                     *** CONFIDENTIAL AND SUBJECT TO FRE 408 ***

October 11, 2021

Via Email (rg@gilelawgroup.com)

Ryan Gile, Esq.
GILE LAW GROUP
The Canyons at Summerlin
1180 No. Town Center Dr., Ste. 100
Las Vegas, NV 89144

Re:      Spectrum’s Synthetic Urine Patents

Dear Mr. Gile:
We previously exchanged correspondence regarding Spectrum Laboratories, LLC’s patent
infringement concerns relating to your client Aim High Investment Group, LLC based on its
manufacture and sale of XStream synthetic urine. Since then, Spectrum had the XStream product
that tested positive for the isothiazoline biocide sent to a second lab, Element Labs, for
confirmatory testing.

Element’s testing has confirmed that XStream: (a) contains methylisothiazolinone, which is the
same claimed biocide detected in the product by the original lab, (b) has a dissociated ionic
compound, namely chloride, (c) contains water, (d) has pH between 3 and 10, namely 9.09, and
(e) has specific gravity between 1.005 g/cm3 and 1.025 g/cm3, namely 1.010 g/cm3. The full
reports by Element Labs are enclosed, and they include photos of the XStream product, which
proves it is authentic. Furthermore, marketing materials for XStream admit that it contains
creatinine and urea, see xstreamurine.com and xurine.com, and we are confident that whatever
formula information Aim High has in its possession shows that creatinine and urea are
ingredients. This testing, therefore, proves that XStream has all of the limitations of one or more
claims of Spectrum’s ’776 and ’105 patents.

If Aim High desires to resolve this dispute amicably and without a lawsuit, then it must provide
the following to me in writing by no later than October 25, 2021:

       (1)    Confirmation that Aim High has ceased and will forever desist from making,
              using, importing, offering to sell, and selling any synthetic urine containing




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Ryan Gile, Esq.
October 11, 2021
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              isothiazoline or any other biocide covered by any of the claims of the ’776 or
              ’105 patents.

       (2)    Confirmation that Aim High has advised in writing all third-parties associated
              with Aim High to immediately cease and desist from making, using,
              importing, offering to sell, and selling any synthetic urine containing
              isothiazoline or any other biocide covered by any of the claims of the ’776 or
              ’105 patents.

       (3)    A report detailing Aim High’s remaining inventory of synthetic urine
              containing isothiazoline or any other biocide covered by any of the claims of
              the ’776 or ’105 patents, and Aim High’s written agreement to destroy that
              inventory.

       (4)    A full written accounting of all Aim High’s sales of synthetic urine containing
              isothiazoline or any other biocide covered by any of the claims of the ’776 or
              ’105 patents., including (without limitation) the annual units sold and annual
              revenue for each product.

       (5)    Name and contact information for each customer, distributor, retailer, or other
              business or individual to whom Aim High has sold or otherwise provided
              synthetic urine containing isothiazoline or any other biocide covered by any of
              the claims of the ’776 or ’105 patents.

       (6)    Name and contact information for each manufacturer, supplier, distributor, or
              other business from whom Aim High has obtained any synthetic urine
              (regardless of whether they disclaim having a biocide), including any business
              that has made or privately-labeled synthetic urine for Aim High.

       (7)    A sworn affidavit by an appropriate and knowledgeable representative of Aim
              High certifying that the information and representations that Aim High
              provides in response to this letter are true, accurate, and complete.

Please feel free to call or write if you have questions, concerns, or would like to discuss further.
Spectrum has instructed me to file a patent infringement lawsuit if Aim High does not respond
in a satisfactory manner, and we have lined up local counsel. We still hope that litigation can be
avoided, but are prepared to go that route to protect Spectrum’s legal and business interests.

Sincerely,

Matthew J. Cavanagh

Enclosures: Element Laboratory Report (8/16/2021)
            Element Laboratory Report (9/7/2021)




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